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                     7   d/b/a of COMMUNITY MEMORIAL HEALTH
                         SYSTEM, a California Nonprofit Public Benefit
                     8   Corporation
                     9
                                              UNITED STATES DISTRICT COURT
                    10
                                            CENTRAL DISTRICT OF CALIFORNIA
                    11
                                                     EASTERN DIVISION
                    12
                    13   UNITED STATES OF AMERICA ex            Case No. CV17-06972-JGB (KKx)
                    14   rel. FRANK ADOMITIS, an
                         individual,                            DEFENDANT OJAI VALLEY
                    15                                          COMMUNITY HOSPITAL’S
                                        Relator,                STATUS REPORT IN RESPONSE
                    16                                          TO ORDER GRANTING MOTION
                              v.                                TO WITHDRAW
                    17   OJAI VALLEY COMMUNITY
                    18   HOSPITAL; DOES 1 through 20,
                         inclusive,                             Judge:     The Hon. Jesus G. Bernal
                    19                                          Courtroom: 1
                                        Defendant.
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ATTO RNEY S AT LAW
                         Case No. CV17-06972-JGB (KKx)
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                                                                          HOSPITAL’S STATUS REPORT
               Case 2:17-cv-06972-JGB-KK Document 42 Filed 06/25/21 Page 2 of 3 Page ID #:744



                     1         On September 21, 2017, relator Frank Adomitis (“Relator”) filed a complaint
                     2   on behalf of the United States of America against Defendant Ojai Valley
                     3   Community Hospital (“Defendant”) and Does 1-20, asserting violations of the False
                     4   Claims Act. See Dkt. No 1. On December 19, 2017, the Court issued an Order
                     5   giving notice of the election by the United States to decline intervention in the
                     6   matter. See Dkt. No. 6. Relator twice amended the complaint and Defendant filed
                     7   three corresponding motions to dismiss. See Dkt. Nos. 12, 17, 18, 25, 27. Before
                     8   the Court could rule on Defendant’s Motion to Dismiss Relator’s Second Amended
                     9   Complaint, this case was stayed pending the appeal of the related case. See Dkt.
                    10   No. 32.
                    11         On March 25, 2021, Relator’s counsel filed a Motion to Withdraw. See Dkt.
                    12   No. 35. The Court granted the Motion to Withdraw on June 2, 2021, and ordered
                    13   that “the parties shall submit a status report stating whether Relator has retained
                    14   new counsel” by June 25, 2021. See Dkt. No. 37. On June 11, 2021, Relator filed a
                    15   Lost Opposition to Motion of Order Permitting Withdrawal. See Dkt. No. 39.
                    16   Relator’s counsel filed a declaration in support of the Motion to Withdraw and
                    17   Relator filed a declaration in response. See Dkt. Nos. 40, 41.
                    18   I.    DEFENDANT’S STATUS REPORT
                    19         Defendant’s understanding, based on the docket, is that Relator does not
                    20   currently have counsel. The Motion to Withdraw was granted and no other attorney
                    21   has filed a Notice of Appearance. It is well-settled that a pro se Relator cannot
                    22   maintain a qui tam action where the government has declined to intervene. Stoner
                    23   v. Santa Clara Cty. Office of Educ., 502 F.3d 1116, 1126-27 (9th Cir. 2007) (a pro
                    24   se relator cannot prosecute a qui tam action under the False Claims Act on behalf of
                    25   the United States). Courts in the Ninth Circuit have dismissed actions without
                    26   leave to amend where a Relator wishes to proceed without counsel. See e.g., Hucul
                    27   v. California, 812 F. App’x 626, 627 (9th Cir. 2020) (The Court “reject[ed] as
                    28   meritless Hucul’s contention that the district court should have allowed him to
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                         Case No. CV17-06972-JGB (KKx)            -2-
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                     1   amend his complaint, as amendment would not have remedied Hucul’s pro se
                     2   status.”). Here, the government declined to intervene, Relator’s counsel has
                     3   withdrawn, and Relator does not currently have counsel.
                     4
                         Dated: June 25, 2021                    Respectfully submitted,
                     5
                                                                 ARENT FOX LLP
                     6
                     7                                        By: /s/Alexander S. Birkhold
                                                                KAREN VAN ESSEN
                     8                                          ALEXANDER S. BIRKHOLD
                                                                Attorneys for Defendant
                     9                                          OJAI VALLEY COMMUNITY
                                                                HOSPITAL
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